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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

)
KENDRICK DAVIS, )
)
Plaintitl, )
) Case No.: WDQ12CV0143
v. )
)
THE CBE GROUP, INC. )
)
Defendant. )
)

STIPULATION OF DISMISSAL
COME NOW KENDRICK DAVIS (the “Plaintiff), and THE CBE GROUP, INC. (the
“Detendant”) and stipulate to the dismissal of this civil action with prejudice pursuant to Rule 41
of the Federal Rules of Civil Procedure,

SO STIPULATED:

 

Kendrick Davis

8135 Scotts Level Road
Pikesville, Maryland 21208
Plaintiff, pro se

 

/s/ Birgit Dachtera Stuart

Birgit Dachtera Stuart, Esquire

he Law Offices of Ronald S. Canter, LLC
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